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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA

                                                          CRIMINAL CASE
V.
                                                   No. 1:18-CR-00098-SCJ-LTO-1



MITZI BICKERS




                                           ORDER

      This matter appears before the Court on the Parties Proposed Jury


Instructions (Doc. No. [186])1 and Defendant's Supplemental Jury Charge

Request (Doc. No. [201]).

       On March 21, 2022, the Parties engaged in a jury charge conference/ in


which the Parties discussed their relative positions on the Court's proposed jury


charge. At the conference/ the Government asked that the Court not charge


Defendant's Supplemental Proposed Jury Charge/ which reads:




1 All citations are to the electronic docket unless otherwise noted/ and all page numbers
are those imprinted by the Court's docketing software.
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              Section 666 does not prohibit all gifts by or to a public
              official, does not prohibit all receipts - does not prohibit
              receipt of all gifts by or to a public official/ but only gifts
               received with the corrupt intent to be influenced or
               rewarded by that governmental official in connection
              with a business or transaction or series of transactions
               of that governmental entity involving $ 5,000 or more.


Doc. No. [201] (citing United States v. McNair, 605 F.3d 1152, 1194 (llth Cir.

2010)). The Government argued that the llth Circuit Criminal Pattern Instruction

covers this jury instruction and that this instruction talks about receiving gifts;


however/ Defendant/ here/ is charged with giving gifts. Defendant argued that


this instruction goes to the factual question of whether Defendant provided Mr.


Yarber with free campaign and fundraising services as a gift or a bribe. In


McNair, the Eleventh Circuit Court of Appeals found the district court did not

commit reversible error when it gave this instruction.2 McNair, 605 F.3d at 1195.


However/ in McNair/ the defendant requesting the instruction was a public


official charged with accepting a bribe. Id. at 1192-95. Here/ Defendant is charged


with giving something of value with corrupt intent, and not charged with




2 The Eleventh Circuit held //[a] finding that a gift was made or accepted with corrupt
intent necessarily excludes friendship and goodwill gifts. There is no reversible error in
the court's charge in this regard." McNair/ 605 F.3d at 1195.

                                          2
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receiving something of value. Therefore, Defendant's Supplemental Proposed


Jury Instruction as written is inappropriate. The Court would have to amend this


instruction to read "gave" instead of "received." The Government would not


agree to such an amendment. Additionally, the Eleventh Circuit Court of


Appeals has not ruled that the amended charge is appropriate. Because this is a


non-pattern instruction and the Government objected to the instruction/ the


Court declines to charge the Defendant's Supplemental Proposed Jury


Instruction.



      Defendant asked the Court not to charge the jury with llth Circuit

Criminal Pattern Jury Instruction Tl.l. This instruction directs the jury that404(b)

evidence may not be considered to determine whether Defendant engaged in the


activity alleged in the indictment. The Court subsequently inquired whether the

Defendant was certain that she did not want the Court to give the jury this


instruction. Defendant confirmed that she did not want the Court to give this


limiting instruction.3




3 The "similar transactions" evidence certainly raises the issue of [Defendant]'s bad
character as well as h[er] propensity to commit illegal financial transactions. The
absence of a limiting instruction opened the door for the jury to consider this evidence
in an improper light." United States v. Gonzalez, 975 F.2d 1514,1517 (llth Cir. 1992).
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      The Court will respect the Defendant's wishes and will not give the


limiting instruction. See United States v. Tohnson, 46 F.3d 1166, 1171 (D.C. Cir.


1995) (//[T]he district court did not err in failing to give a limiting

instruction... such instruction might in fact be inconsistent with a defendant's


deliberate trial strategy to minimize the jury's recollection of the unfavorable

evidence/'); see also Gray v. Busch Entertainment Corp., 886 F.2s 14,16 (2d Cir.


1989) ("The failure to request a limiting instruction, we believe, waived any claim


short of outright inadmissibility."). Accordingly/ the Court will not instruct the


jury on llth Circuit Criminal Pattern Jury Instruction Tl.l.


                                 CONCLUSION

      For the foregoing reasons/ the Court will not instruct the jury on the


Defendant's Supplemental Jury Instruction or the llth Circuit Criminal Pattern


Instruction Tl.l.




      IT IS SO ORDERED this 22nd day of March/ 2022.




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                                       HONORABLE STEVE C/JONES
                                       UNITED STATES DISTRICT JUDGE
